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                   UNITED STATES COURT OF INTERNATIONAL TRADE

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                                                               :
JANSSEN ORTHO LLC,                                             :
                                                               :
                                                               :
                                    Plaintiff,                 :     Before: Jennifer Choe-Groves, Judge
                                                               :
                           v.                                  :     Court Nos. 13-00296; 13-00052;
                                                               :                14-00094; 14-00198
UNITED STATES,                                                 :
                                                               :
                                    Defendant.                 :
                                                               :
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                  PLAINTIFF’S CONSENT MOTION AND STATUS REPORT

        Janssen Ortho, LLC (“Janssen”), with the consent of Defendant the United States

(“Customs”), respectfully moves the Court to dismiss Case Numbers 13-00052, 14-00094 and

14-00198.

        In its September 1, 2022 Order, the Court ordered that, should the Parties be unable to

resolve Case Numbers 13-00052, 13-00296, 14-00094, and 14-00198, Janssen shall file its

complaint in Case Number 13-00052 no later than October 17, 2022. The Court also ordered the

parties to provide a status report no later than October 17, 2022, on their efforts to resolve the

above-noted matters and whether the parties agree to attempt mediation.

        Since the August 31, 2022 status report and September 1, 2022 Order, the Parties have

entered into an October 14, 2022 Settlement Agreement resolving all outstanding claims in the

above-referenced cases and applying the Court’s final judgment in Janssen Ortho, LLC v. United

States, Case No. 13-00296 (Slip Op. 20-14, ECF Nos. 274 and 275), aff’d 995 F.3d 981 (Fed.

Cir. 2021) (“Case No. 13-00296”) to all entries and drawback claims of materially identical
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merchandise, the liquidation of which was not final on July 19, 2021, or which were included

Case Numbers 13-00052, 14-00094, and 14-00198, which were pending before this Court when

the United States Court of Appeals for the Federal Circuit issued its mandate and the judgment in

Case No. 13-00296 became final.

       Having entered into the October 14, 2022 Settlement Agreement with the Defendant

resolving all outstanding claims in the above-referenced cases, and upon the Court’s Order,

Janssen agrees to voluntarily dismiss with prejudice Case Numbers 13-00052, 14-00094, and 14-

00198. On October 17, 2022, Mr. Guy Eddon, counsel for the United States, informed the

undersigned that, on behalf of the Government, he consents to the relief requested in this motion.



                                                    Respectfully submitted,

                                                     /s/ Lars-Erik Arthur Hjelm
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